Case 3:21-cv-00657-CAB-MDD Document 1 Filed 04/14/21 PageID.1 Page 1 of 13




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     Attorneys for Plaintiff
 6
                    IN THE UNITED STATES DISTRICT COURT
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                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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     SCANNING TECHNOLOGIES               §
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     INNOVATIONS LLC,                    §
10                                       §
            Plaintiff,                   §                      Case No:
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                                         §                      '21CV0657 GPC BLM
12   vs.                                 §                      PATENT CASE
                                         §
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     GAFANA ENTERPRISES, INC.,           §
14   d/b/a PURPLEPASS                    §
                                         §
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            Defendant.                   §
16   ____________________________________§
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18
                                 ORIGINAL COMPLAINT
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           Pursuant to F.R.C.P. 15(a)(1)(B), Plaintiff Scanning Technologies
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     Innovations, LLC (“Plaintiff” or “STI”) files this Original Complaint against
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     Gafana Enterprises, Inc., d/b/a PurplePass (“Defendant” or “PurplePass”) for
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     infringement of United States Patent No. 10,600,101 (hereinafter “the ‘101
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     Patent”).
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                               PARTIES AND JURISDICTION
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           1.     This is an action for patent infringement under Title 35 of the United
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     States Code. Plaintiff is seeking injunctive relief as well as damages.
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                                              -1-                               COMPLAINT
Case 3:21-cv-00657-CAB-MDD Document 1 Filed 04/14/21 PageID.2 Page 2 of 13




 1         2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
 2   (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
 3   infringement arising under the United States patent statutes.
 4         3.     Plaintiff is a Texas limited liability company having an address of 1
 5   East Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
 6         4.     On information and belief, Defendant is a Delaware corporation
 7   having a place of business at 10981 San Diego Mission Rd., San Diego, CA
 8   92108. On information and belief, Defendant may be served through its agent,
 9   Gabriel Afana, at the same address.
10         5.     On information and belief, this Court has personal jurisdiction over
11   Defendant because Defendant has committed, and continues to commit, acts of
12   infringement in this District, has conducted business in this District, and/or has
13   engaged in continuous and systematic activities in this District.
14         6.     On information and belief, Defendant’s instrumentalities that are
15   alleged herein to infringe were and continue to be used, imported, offered for sale,
16   and/or sold in this District.
17                                         VENUE
18         7.     Venue is proper in this District 28 U.S.C. §1400(b) because
19   Defendant is deemed to reside in this District. Alternatively, acts of infringement
20   are occurring in this District and Defendant has a regular and established place of
21   business in this District.
22                                         COUNT I
23        (INFRINGEMENT OF UNITED STATES PATENT NO. 10,600,101)
24         8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
25         9.     This cause of action arises under the patent laws of the United States
26   and, in particular, under 35 U.S.C. §§ 271, et seq.
27         10.    Plaintiff is the owner by assignment of the ‘101 Patent with sole
28   rights to enforce the ‘101 Patent and sue infringers.

                                              -2-                               COMPLAINT
Case 3:21-cv-00657-CAB-MDD Document 1 Filed 04/14/21 PageID.3 Page 3 of 13




 1         11.    A copy of the ‘101 Patent, titled “Systems and Methods for Indicating
 2   the Existence of Accessible Information Pertaining to Articles of Commerce,” is
 3   attached hereto as Exhibit A.
 4         12.    The ‘101 Patent is valid, enforceable, and was duly issued in full
 5   compliance with Title 35 of the United States Code.
 6         13.    The ‘101 Patent describes systems and methods for downloading a
 7   look-up table from a server database to a mobile device via a communication
 8   network.    ‘101 Patent, Abstract.    The look-up table is configured to store a
 9   plurality of code numbers associated with articles of commerce and a plurality of
10   information link indicators. Id. Each indicator is associated with a respective
11   code and article of commerce, and indicates the existence of a link to information
12   about the article of commerce. Id.
13         14.    The ‘101 Patent recognizes problems associated with prior systems
14   including that the mobile devices of prior systems take time to connect to the
15   Internet in order to access product information. ‘101 Patent, 1:59-67. Also, prior
16   systems don’t readily indicate whether there is a link to additional information
17   about the product. Id.
18         15.    Thus, the ‘101 Patent recognized a need to allow a consumer to
19   readily determine whether product information is available for a product having an
20   associated product code. ‘101 Patent, 2: 3:11. A further need existed for a mobile
21   device to allow a consumer offline access to immediately determine whether the
22   product information was available. Id.
23         16.    In certain embodiments, the ‘101 Patent includes a mobile device that
24   is configured to download a look-up table from a server and store the look-up table
25   in a local database.     ‘101 Patent, 2:35-48.     In response to receiving scan
26   information regarding a product code, a processing device on the mobile device is
27   configured to look up the code in the look-up table to determine whether or not a
28   link to information about the associated product is available. Id.

                                              -3-                               COMPLAINT
Case 3:21-cv-00657-CAB-MDD Document 1 Filed 04/14/21 PageID.4 Page 4 of 13




 1         17.    The ‘101 Patent solves problems with the art that are rooted in
 2   computer technology and that are associated with inventory management and the
 3   retrieval of information associated with articles of commerce. The ‘101 Patent
 4   claims do not merely recite the performance of some business practice known
 5   from the pre-Internet world along with the requirement to perform it on the
 6   Internet.
 7         18.    The improvements of the ‘101 Patent and the features recited in the
 8   claims in the ‘101 Patent provide improvements to conventional hardware and
 9   software systems and methods. The improvements render the claimed invention of
10   the ‘101 Patent non-generic in view of conventional components.
11         19.    The improvements of the ‘101 Patent and the features recitations in
12   the claims of the ’101 Patent are not those that would be well-understood, routine
13   or conventional to one of ordinary skill in the art at the time of the invention.
14         20.    Upon information and belief, Defendant has infringed and continues
15   to infringe one or more claims, including at least Claim 1, of the ‘101 Patent by
16   making, using, importing, selling, and/or offering for sale an event ticket
17   management system covered by one or more claims of the ‘101 Patent. Defendant
18   has infringed and continues to infringe the ‘101 Patent directly in violation of 35
19   U.S.C. § 271.
20         21.    Defendant sells, offers to sell, and/or uses an inventory system
21   including, without limitation, the PurplePass online event management system,
22   any associated apps, hardware and/or software, and any similar products
23   (collectively, “Product”), which infringe at least Claim 1 of the ‘101 Patent.
24         22.    The Product provides an application for scanning QR codes to obtain
25   a decoded link, which contains information about an article of commerce. Among
26   other things, the Product provides an event ticket management solution in which a
27   ticket can be scanned (e.g., by way of a QR code present on the ticket) to obtain a
28   decoded link, which contains information about an article of commerce (e.g., to

                                               -4-                                  COMPLAINT
Case 3:21-cv-00657-CAB-MDD Document 1 Filed 04/14/21 PageID.5 Page 5 of 13




 1   display information related to a ticket when the code is scanned). Certain aspects
 2   of this element are illustrated in the screenshots below and/or those provided in
 3   connection with other allegations herein.
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Case 3:21-cv-00657-CAB-MDD Document 1 Filed 04/14/21 PageID.6 Page 6 of 13




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           23.   The Product includes a mobile device comprising a portable handheld
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     housing and a communication interface configured to enable the mobile device to
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     communicate with a communication network.           For example, the Product
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     incorporates a handheld device (e.g., mobile device with Product software) and a
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     communication interface (i.e., cloud-based communication interface and/or
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     Internet) configured to enable the handheld device to communicate with a
26
     communication network. Certain aspects of this element are illustrated in the
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                                            -6-                              COMPLAINT
Case 3:21-cv-00657-CAB-MDD Document 1 Filed 04/14/21 PageID.7 Page 7 of 13




 1   screenshots below and/or those provided in connection with other allegations
 2   herein.
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           24.    The Product uses a signal processing device and a visual input device,
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     the visual input device affixed within the portable handheld housing. For example,
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     a visual input device (e.g., camera for scanning barcode) and signal processing
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     device (i.e., processor of handheld device) are affixed within the portable handheld
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     housing (e.g., the housing of the mobile device). The mobile device camera is used
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     to scan a code and, via the Product’s server, obtain details related to a particular
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     product (e.g., details about the ticket and event associated with the ticket). Certain
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                                              -7-                                 COMPLAINT
Case 3:21-cv-00657-CAB-MDD Document 1 Filed 04/14/21 PageID.8 Page 8 of 13




 1   aspects of this element are illustrated in the screenshots below and/or those
 2   provided in connection with other allegations herein.
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           25.    The Product comprises digital files associated with the mobile device.
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     For example, the Product application has digital files (e.g., code image files, logos,
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     and digital product information) associated with the mobile device. Certain aspects
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     of this element are illustrated in the screenshots below and/or those provided in
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     connection with other allegations herein.
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                                              -8-                                 COMPLAINT
Case 3:21-cv-00657-CAB-MDD Document 1 Filed 04/14/21 PageID.9 Page 9 of 13




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           26.    The Product also includes a server in communication with the
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     communication network, the server comprising a server database configured to
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     store a look-up table that includes at least a plurality of bar codes associated with a
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     plurality of articles of commerce. For example, the Product app communicates
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     with a server through the communication network. The server has a look-up table
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     (i.e., database for storing ticket details). Also, the server database contains codes,
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                                               -9-                                 COMPLAINT
Case 3:21-cv-00657-CAB-MDD Document 1 Filed 04/14/21 PageID.10 Page 10 of 13




  1   each having associated information about the guest list. Certain aspects of this
  2   element are illustrated in the screenshots below and/or those provided in
  3   connection with other allegations herein.
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 12         27.    The look-up table also stores a plurality of information link
 13   indicators, each information link indicator associated with a respective bar code
 14   and article of commerce. For example, the look-up table (i.e., remote database
 15   accessed by the Product app/software) also stores a plurality of information link
 16   indicators (e.g., link indicating scanned product and/or validation of scanned code
 17   details associated with the product, such as details associated with the ticket and/or
 18   the event associated with the ticket) indicating information associated with a
 19   respective code. Certain aspects of this element are illustrated in the screenshots
 20   below and/or those provided in connection with other allegations herein.
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                                               -10-                                COMPLAINT
Case 3:21-cv-00657-CAB-MDD Document 1 Filed 04/14/21 PageID.11 Page 11 of 13




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                                         -11-                           COMPLAINT
Case 3:21-cv-00657-CAB-MDD Document 1 Filed 04/14/21 PageID.12 Page 12 of 13




  1         28.    Each information link indicator is configured as a status signal
  2   indicating the existence or absence of a link to information pertaining to a
  3   respective article of commerce, the link being made to the information via the
  4   communication network. For example, each information link which is obtained by
  5   scanning a code indicates a status signal indicating the existence or absence of a
  6   link to information about a respective article of commerce (e.g., link indicating
  7   validation of scanned QR code ticket and details associated with ticket). The
  8   information associated with the link is retrieved through the communication
  9   network. Certain aspects of this element are illustrated in the screenshots below
 10   and/or those provided in connection with other allegations herein.
 11         29.    The visual input device is configured to scan an image of an article of
 12   commerce, decode the image to obtain a code and forward data from the scanned
 13   image to the signal processing device. For example, the visual input device (i.e.,
 14   handheld device camera) is configured to scan an image of a code associated with
 15   an article of commerce. After scanning the code, the code is decoded using
 16   Product software, which may be located on the mobile device, to retrieve
 17   information about the product.      The information is forwarded to the signal
 18   processing device (i.e., processor of mobile device). Certain aspects of this
 19   element are illustrated in the screenshots below and/or those provided in
 20   connection with other allegations herein.
 21         30.    In response to receiving the bar code, the signal processing device
 22   (i.e., mobile device) is configured to look up the code in the look-up table (i.e.,
 23   remote database) to determine from a respective information link (e.g., link to
 24   ticket/event information) whether or not information pertaining to an article of
 25   commerce associated with the code (information about the associated ticket/event)
 26   may be accessed via the communication network. Certain aspects of this element
 27   are illustrated in the screenshots below and/or those provided in connection with
 28   other allegations herein.

                                              -12-                               COMPLAINT
Case 3:21-cv-00657-CAB-MDD Document 1 Filed 04/14/21 PageID.13 Page 13 of 13




  1         31.    Defendant’s actions complained of herein will continue unless
  2   Defendant is enjoined by this court.
  3         32.    Defendant’s actions complained of herein are causing irreparable
  4   harm and monetary damage to Plaintiff and will continue to do so unless and until
  5   Defendant is enjoined and restrained by this Court.
  6         33.    Plaintiff is in compliance with 35 U.S.C. § 287.
  7                                   PRAYER FOR RELIEF
  8         WHEREFORE, Plaintiff asks the Court to:
  9         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
 10   asserted herein;
 11         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
 12   employees, attorneys, and all persons in active concert or participation with
 13   Defendant who receive notice of the order from further infringement of United
 14   States Patent No. 10,600,101 (or, in the alternative, awarding Plaintiff a running
 15   royalty from the time of judgment going forward);
 16         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
 17   accordance with 35 U.S.C. § 284;
 18         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs;
 19   and
 20         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
 21   entitled under law or equity.
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 23   Dated: April 14, 2021               Respectfully submitted,

 24                                       /s/ Stephen M. Lobbin
 25                                       ATTORNEYS FOR PLAINTIFF

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                                              -13-                               COMPLAINT
